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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS


  UL LLC,
                    Plaintiff,
    -v-                                                  Case No. 1:24-cv-05631
                                                         Hon. Andrea R. Wood
  JOSHUA CALLINGTON,
                    Defendant.



             MOTION TO DISSOLVE INTERIM PROTECTIVE ORDER

      PLEASE TAKE NOTICE that, pursuant to this Court directives, Mr. Callington, by

and through the undersigned counsel, hereby moves for the dissolution of the Interim

Protective Order (CM/ECF No. 17) entered on October 24, 2024, for the following reasons:


                                     BACKGROUND

             A. UL Solutions, f/k/a Underwriters Laboratories (“UL LLC)

      In 1894, an American electrical engineer named William Henry Merrill, Jr., founded

a non-profit organization called Underwriters Laboratories (“UL”), with a clear mission that

focused on product safety testing and certifications. For over a century, “UL operated as a

nonprofit entity, earning global recognition for its rigorous product testing and the trusted

UL Mark, which continues to serve as a symbol of safety on a wide range of products,

including electrical appliances, building materials, and fire safety equipment, to this day.
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      In 2012, UL transitioned to a for-profit structure, ostensibly to expand its mission

and adapt to evolving global demands. This shift allowed the company to diversify its

offerings beyond traditional safety testing, moving into areas such as Environmental,

Social, and Governance (“ESG”) advisory, social compliance auditing, and sustainability

services. In 2024, the company went public, raising $946 million through its IPO—and

signaling the company’s increasing focus on profitability.

      Today, UL Solutions is a publicly traded company (NYSE: ULS), with annual

revenues in excess of $2.5 billion per year. Upon information and belief, UL’s social

compliance auditing business generates roughly $250 million in annual revenues by

providing supply chain risk and ESG compliance assessment services to numerous other

publicly-traded companies, including many nationally recognized brands and retailers.

               B. Mr. Callington’s Complicated Tenure at UL Solutions

      Mr. Callington was employed with UL’s social compliance auditing business for

approximately 7 years, from May 17, 2017 through July 3, 2024. In that capacity, Mr.

Callington was tasked with conducting audits at facilities that manufacture consumer

products for distribution across the United States and Canada, for the purpose of evaluating

their compliance with applicable labor and workplace safety laws, ESG mandates, and other

ethical supply chain standards.

      During that time, Mr. Callington became increasingly concerned about what he

viewed as a degradation of ethics and standards, as management gradually shifted priorities

away from conducting thorough and rigorous audits, and towards emphasizing client

satisfaction and retention. On multiple occasions, Mr. Callington raised concerns,

internally, about dangerous and/or unlawful conditions that he observed during onsite
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audits, to which UL essentially instructed him to turn a blind eye. What started out as a

handful of isolated instances eventually grew into a more systemic problem of encouraging

auditors to engage in purposeful neglect, and even removing adverse findings from audit

reports, after-the-fact, in some instances, to placate clients and satisfy its customers’

demand for sham ESG certifications

      From Mr. Callington's perspective, things reached a head when he learned that a 14-

year-old undocumented migrant child suffered a terrible accident and lost his right arm

while working the night shift at a slaughterhouse that UL had previously audited. See

Hannah    Drier,   The Kids on       the Night     Shift,   N.Y.   Times (Sept.     18,   2023),

https://www.nytimes.com/2023/09/18/magazine/child-labor-dangerous-jobs.html (reporting

that “Marcos Cux… had just turned 14,” when he lost his arm in an accident while working

as part of the overnight cleaning crew at one of Perdue’s poultry processing facilities in rural

Virginia).1 According to the New York Times, children like Marcos comprised a significant

portion of the “overnight cleaning crew” at that facility—despite the fact that “[f]ederal law

bans minors from [working in]… slaughterhouses,” due to the high risk of injury. Id.

      The thing that really bothered Mr. Callington about this story—aside from the plight

of the children working in these factories—is that that UL had given that very same facility

a passing score, in terms of being free of child labor and unsafe machinery.

      This critical fact, which was not included in any of the news coverage surrounding

the incident, is ultimately what prompted him to reach out to the newspaper. If the audit


1 A subsequent investigation by the U.S. Department of Labor revealed that Marcos was

only 13 when he started working at the factory; other sources reported that some children
entering the factory carried “pink and purply sparkly backpacks,” and looked very young.
See Hannah Drier, Company Hired 24 Minors to Clean Slaughterhouses, Labor
Department Says, N.Y. Times (Feb. 21, 2024).
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had been conducted properly, he thought, the young boy would not have been working under

those conditions; he would not have lost his arm. The whole situation was preventable, and

all the right mechanisms for preventing it were in place. But that mechanism (i.e., the UL

audits designed to flag labor violations and workplace safety issues) was consistently failing

to identify and protect children like Marco. Mr. Callington understandably felt a moral

imperative to do something; a sense of responsibility, even, for not ever having done

anything beyond repeatedly raising his concerns, internally, about UL’s increasingly lax

approach to audits that were designed to prevent accidents like what had happened to this

young boy.    If only more people understood how these compliance audit lapses were

contributing to the problem, he thought, perhaps members of Congress, or other

policymakers would intervene, or perhaps some level of media scrutiny would prompt

companies like UL to voluntarily undertake appropriate corrective actions.

     C. The New York Times Reports on UL’s Role and Complicity in Brushing
       Child Labor Violations Under the Rug, citing Mr. Callington as a source

      On December 28, 2013, the New York Times published another article, following up

on its previous reporting in a series of articles about child labor violations at American

manufacturing facilities across the nation. See Hannah Drier, They’re Paid Billions to Root

Out Child Labor in the U.S. Why Do They Fail?, N.Y. Times (Dec. 28, 2023),

https://www.nytimes.com/2023/12/28/us/migrant-child-labor-audits.html.

      According to that article, the New York Times conducted interviews with “dozens” of

auditors who essentially corroborated the same issues that Mr. Callington had attempted

to raise internally at UL, on countless occasions. Although Mr. Callington was the only

auditor identified by name, the article confirmed that other, similarly situated

professionals, shared his concerns about ESG compliance auditing firms “provid[ing] little
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more than a veneer of compliance for global corporations, which overstate how rigorously

they review sprawling supply chains.” Id. (“Auditors for several firms said they are

encouraged to deliver findings in the mildest way possible as they navigate pressure from

… different sources”). The reporting also validated a theory that Mr. Callington had raised

with UL management just a few months earlier, about why its audits were systemically

failing to identify violations of child labor laws: “auditors typically start their inspections in

the morning and stay for about seven hours… even at …[large] factories that operate around

the clock,” the article explained, “[so]… night shifts, where child labor violations most often

occur, are almost never seen.” Id.

      The article portrays Mr. Callington as a hardworking and dedicated professional with

a profound commitment to his purpose-driven work. See id. (“Mr. Callington sometimes

squeezes in five audits a week, staying on the road for six-week stretches. He flies between

coasts so regularly that he has stopped thinking of himself as having a home-base time zone,

and during long drives occasionally turns to his phone to ask, ‘Hey, Siri, where am I ?’ ”). Id.

“‘If audits are done correctly, the world could be a better place,’ he said. ‘Bettering the lives

of workers is what these audits are supposed to be about.’” Id. (quoting Mr. Callington).

      “But more and more, he said, each audit had begun to feel like a struggle between

wanting the truth and trying to avoid conflict…” Id. The article went on to cite examples

from several of Mr. Callington’s audits for well-known national retailers, to illustrate the

types of problems he had encountered—like the time that he was removed from the client

account for Walgreens and placed on a remediation plan, after failing three of the company’s

suppliers for “abusive working conditions.” Id. Another example recounts how Mr.

Callington had asked managers at UL Solutions if Costco and other clients might consider
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implementing nighttime inspections, in light of the “recent news coverage that mentioned

child labor raids at slaughterhouses,” but never got a response. Id. And the time Mr.

Callington was penalized for flagging 21 separate labor violations at a warehouse that

supplies potatoes to major national retailers; as the article recounts, “the plant’s

management complained that he was demanding and argumentative, and his supervisor

barred him from returning.” Id. UL also required Mr. Callington to “complete a series of

customer service trainings” in response to that particular incident, and generally continued

to emphasize the importance of client satisfaction above all else. Id.

      Disturbing as it is, these examples, and others cited in the article were really just the

tip of the iceberg. As UL knows, the scope and impact of its questionable social compliance

auditing operation extends far beyond the subject matter covered in that one New York

Times article and has profound implications—not only for the everyday lives of American

factory workers—but also for the flow of large institutional investments into public

companies that fraudulently tout these dubious audits as evidence of their commitment to

ESG principles. And that is why UL is so eager to silence Mr. Callington.

      Simply put, this case is not about trade secrets; it is about the highly unethical and

potentially fraudulent social compliance auditing practices that have enabled UL to rake in

billions over the last decade—and the existential risk posed by whistleblowers, like Mr.

Callington, who threaten to undermine that business model.

      As an aside, it bears worth noting that Mr. Callington’s decision to speak with the

New York Times did, in fact, have the positive impact he had hoped for—albeit, at a

significant personal cost to his own professional and financial interests. In response to that

article, several large companies, including some of the ones Mr. Callington had named,
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committed to undertaking meaningful steps towards eliminating child labor in their

domestic supply chains. See Hannah Drier, Confronted With Child Labor in the U.S.,

Companies      Move      to    Crack     Down,      N.Y.     Times     (Feb.      7,    2024),

https://www.nytimes.com/2023/12/28/us/migrant-child-labor-audits.html          (“Many   major

U.S. companies — including some of the country’s biggest consumer brands… are [now]

revising the kinds of audits they require… enhancing reviews of night shifts and shifts run

by outside contractors… and moving away from announcing audits in advance.”).

      Meanwhile, UL’s response to the article followed the more conventional corporate

crisis management playbook tactics aimed at silencing whistleblowers. Mr. Callington was

placed on paid leave while UL conducted an internal investigation, in which he fully

cooperated, and which effectively ensured that Mr. Callington would not speak to any other

media outlets while the company crafted its legal strategy to secure a more permanent

solution. And approximately six months later, on July 3, 2024, UL filed this retaliatory

lawsuit, alleging that Mr. Callington has misappropriated the company’s alleged trade

secrets—which UL conveniently defines as a “compilation” of information that includes,

basically, everything that Mr. Callington did, said, touched, observed, and/or experienced,

over the course of nearly a decade working at the company.

      It should come as no surprise that UL’s next move involved seeking some kind of

injunctive relief to restrain Mr. Callington from speaking out against UL’s course of conduct

throughout the remainder of the litigation. To that end, UL managed to obtain a highly

restrictive interim order that severely curtails Mr. Callington's ability to advocate for

himself and speak out against UL, under the guise of a preliminary "Motion for an Order to
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Preserve Evidence" (CM/ECF No. 5, Page ID # 76-80) before Mr. Callington had even

retained counsel.

      Seeing that Mr. Callington was unrepresented, appearing pro se, and requesting

additional time to find representation, the Court's inclination to grant that motion was

entirely reasonable, insofar the interim measure sought to protect both parties' interests, by

preserving the status quo while Mr. Callington sought counsel. Now that those objectives

have been met, however, the order must be dissolved—or, at minimum, replaced, with

something far less restrictive.



                                   ARGUMENT
      Though styled as an “Interim Protective Order,” the substantive relief sought and

obtained by UL at this early stage in the case is, in effect, a temporary restraining order

("TRO") that functions prior restraint against Mr. Callington's ability to speak about nearly

all aspects of his experience working at UL. For all intents and purposes, it is the functional

equivalent of a gag order—which UL now seeks to parlay into a preliminary injunction

under the guise of its most recent motion for the entry of a more permanent so-called

“confidentiality” order that would remain in place throughout the course of this litigation

(CM/ECF No. 22, Page ID # 122-173).

      Setting aside the fact that UL’s attempts to restrain Mr. Callington’s have no

apparent basis in any cognizable legal theory or rule of law, the interim order must be

dissolved for several reasons that also weigh against its more recent application for more

extensive injunctive relief.

      First, and perhaps more importantly, UL has not—and in all likelihood, cannot—

identify any legitimate and commercially valuable trade secret that is in Mr. Callington's
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possession. If it could, Mr. Callington would readily stipulate to an order preventing the

disclosure of such materials, which should be readily identifiable by UL and its counsel. As

UL concedes in its most recent filing, the undersigned counsel’s repeated requests for a more

specific subject matter list of materials which it contends are trade secrets have consistently

been rebuffed, which creates a real notice problem—with respect to the lawsuit, in general—

and with respect to the scope of any requested injunctive relief.

      Furthermore, even in the hypothetical situation where a former employee does, in

fact, have access to trade secrets that are, in fact, entitled to protection from competitors--

that alone would hardly satisfy the onerous standard for imposing a court-ordered prior

restraint on speech relating to all other aspects of his or her employment.

      Although UL has not anchored its request for a protective order in any particular

statutory provision or rule of law, the most generous interpretation of UL's proffered

interest in protecting commercially valuable trade secrets would be to understand its

request as seeking to invoke the injunctive relief provisions of the DTSA, see, e.g., 18 U.S.C.

§§ 1836(b)(3), 1835(a). Even then, however, mere allusions to the general availability of a

injunctive relief in the remedial framework of a statute are rarely, if ever, sufficient to serve

as the basis for awarding such drastic relief.

      If UL truly believes that it is entitled to enjoin Mr. Callington’s conduct to

protect its alleged trade secrets, it is by all means free to move for a preliminary

injunction and make the requisite showing. See Creative Financial Staffing LLC v.

Kubacki, 2023 WL 1818560, at *3 (N.D.Ill., 2023) ("A preliminary injunction is an

extraordinary and drastic remedy… that should not be granted unless the movant, by a
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clear showing, carries the burden of persuasion.”) (quoting Mazurek v. Armstrong, 520 U.S.

968, 972, (1997) (emphasis in original).

      In this Circuit, as in all other jurisdictions, prevailing on such a motion would require

UL to show, that: (1) “it has no adequate remedy at law,” (2) “that it will suffer irreparable

harm in the absence of an injunction,” and (3) “that it is likely to succeed on the merits” of

its trade secret claim, at the outset. Id. (citing DM Trans, LLC v. Scott, 38 F.4th 608, 617–

18 (7th Cir. 2022) and Life Spine, Inc. v. Aegis Spine, Inc., 8 F.4th 531, 539 (7th Cir. 2021).

In the unlikely event that UL proceeds with the requisite motion and comes anywhere close

to satisfying these “threshold requirements,” the analysis would necessarily proceed to the

next stage, in which this Court would be tasked with assessing ‘whether the balance of

harms favors [UL]… or whether the harm to other parties,” including Mr. Callington, and/or

"the public" is "sufficiently weighty that the injunction should be denied.” Id.

      Mr. Callington reserves the right to address such arguments in the event they are

raised, at some later date, of course. For now, however, UL’s request for injunctive relief

must fail for the simple reason that it has not satisfied its burden on any of the requisite

elements for a preliminary injunction—nor even attempted to do so, by filing a properly

designated motion for the precise type of relief it seeks.


                                       CONCLUSION

      For these reason, any and all injunctive provisions of the interim order that impose

additional obligations and restrictions on Mr. Callington’s conduct and activities, and which

extend beyond the scope of otherwise applicable law, must be dissolved.2 To the extent that



      2 The undersigned counsel has advised Mr. Callington that certain aspects of the

interim order may have been intended to provide him with some level of notice, as a courtesy
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UL now seeks additional injunctive relief through its most recent motion for a so-called

“confidentiality order,” that motion can be addressed at the discovery stage, in accordance

with the default provisions of Fed. R. Civ. P. 26, or denied outright, as premature at this

juncture.


      Dated: November 16, 2024
      New York, NY
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to a pro se litigant, regarding rights and obligations as a litigant before this Court. To the
extent that the order delineates the parties' respective document preservation obligations,
for example, Mr. Callington has no objection to that aspect of the order and fully appreciates
that the obligation is continuing in nature, irrespective of whether an order to that effect
remains on the docket.
